         Case 1:22-cv-01642-GLR Document 28 Filed 10/11/22 Page 1 of 1




                                    In the
                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

LOIS ANN GIBSON, et al. * * * * * * * * * *
       Plaintiffs,                                       *
Maryland 20-20 Watch, et al                              *
            v.                                           *    CIVIL NO. GLR-22-1642
STATE OF MARYLAND, AND                                   *
MARYLAND STATE BOARD OF ELECTIONS ,                      *
     et al                                               *
FREDERICK COUNTY, MARYLAND, et al.,                      *
     Defendants.                                         *
* * * * * * * * * * * * * * * * * * * * * *              *

                                          ORDER
               Upon consideration of Plaintiffs’s Motion for an expansion of time to
oppose several Federal Rule of Civil Procedure, 12(b)(6) Motion(s) to Dismiss for failure
to state a claim, and with the consent of the Office of the Attorney General representing
the Maryland State Board of Elections, the Court concludes, and it is this 11th day of
October, 2022, hereby Ordered that:
       1. The interest of economy and justice shall be served by completion of the service
of process and deferring commencing of presentation of the issues by all parties to the
extent practical, while some parties remain unserved and/or unresponsive;
       2. Accordingly, the time for respons(es) to pending 12(b)(6) motions is hereby
extended to November 7, 2022. In the event either parties require further extension the
Court shall be notified of further requests at least 3 calendar days in advance.

                                                          /s/
                                                  ______________________________
                                                  Judge George L. Russell III
                                                  United States District Court
